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IN THE UNITED STATES DISTRICT COURT '_
FOR THE WESTERN DISTRICT OF TENNESSEEG&{
WESTERN DIVISION

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CHRISTOPHER LEE SCALLIONS,
Plaintiff,

v.

NO. 04-2556 MaV

LAUDERDALE COUNTY, et al.,

Defendants.

 

ORDER GRANTING DEFENDANT DYER COUNTY'S MOTION TO DISMISS
PLAINTIFF'S CLAIM FOR PUNITIVE DAMAGES UNDER § 1983 AGAINST DYER
COUNTY AND DYER COUNTY SHERIFF'S DEPUTIES JOHN JUSTISS AND JOHN

CANNON IN THEIR OFFICIAL CAPACITIES

 

Plaintiff Christopher Lee Scallions (“Scallions)” brings this
action under 42 U.S.C. § 1983, alleging that Lauderdale County and
Dyer County sheriff’s deputies violated his constitutional rights.
(Am. Compl. at H“ 42-64.) Scallions also brings state law claims.
Scallions asks for compensatory and punitive damages. On February
22, 2005, Scallions filed an amended complaint naming as defendants
Dyer County and Dyer County sheriff's deputies John Justiss and
John Cannon individually and in their official capacities.

On March 17, 2005, Dyer County filed an answer. In its answer,
Dyer County included a nmtion to dismiss Scallions’ claim for
punitive damages stating that “[i]t is well settled law that
punitive damages cannot be recovered in a Section_ 1983 claim

against a municipality or the officers of the municipality while

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acting in their official capacity.” (Dyer County Ans. at q A.)
Scallions’ filed a response on March 25, 2005, stating that “the
law does not allow recovery of punitive damages for a § 1983 claim
against a county, or one of its officers acting in his official
capacity. However, plaintiff is only seeking' punitive damages
against John Justiss and John Cannon in their individual
capacities, which is proper under § 1983.” (Pl.’s Resp. at 1.}
The parties, who appear to be in agreement, have correctly
stated the law: “a municipality is immune from punitive damages
under 42 U.S.C. § 1983.” Citv of Newport v. Fact Concerts, lnc.,
453 U.S. 247, 271 (1981). Accordingly, the court GRANTS Dyer
County’s motion to dismiss Plaintiff’s claim for punitive damages
under § 1983 against defendants Dyer County and sheriff's deputies

Justiss and Cannon in their official capacities.l

So ordered this Iq “‘ day of May 2005.

NM/wi....

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

 

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Scallions' claims for punitive damages under § 1983 against Justiss and
Cannon in their individual capacities and Scallions' claims for punitive damages
under state law are not dismissed.

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Notice of Distribution

This notice confirms a copy of the document docketed as number 41 in
case 2:04-CV-02556 Was distributed by faX, mail, or direct printing on
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Honorable Samuel Mays
US DISTRICT COURT

